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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               LYNCHBURG DIVISION

 DARTON ENVIRONMENTAL, INC.,           )
                                       )
       Plaintiff,                      )
                                       )
 v.                                    )   Case No. 6:17-cv-00072
                                       )
 FJUVO COLLECTIONS, LLC; TG )              JUDGE NORMAN K. MOON
 RECYCLE OIL, LLC; GUO DENG )
 CHEN, aka ANDY CHEN; GREEN OIL )          MAGISTRATE JUDGE ROBERT S.
 RECYCLE, INC.; JIANBIN ZHENG; & )         BALLOU
 ADAM ZHENG,                           )
                                       )
       Defendants.                     )
 ______________________________________________________________________________

                 STIPULATION OF DISMISSAL WITH PREJUDICE
 ______________________________________________________________________________

        Plaintiffs and Defendants hereby stipulate that this case is dismissed WITH PREJUDICE.

 All claims that were brought in this action and all claims that could have been brought in this

 action are hereby dismissed WITH PREJUDICE and the parties agree that the Court should enter

 an Order dismissing this entire case WITH PREJUDICE.

                       Respectfully and Jointly submitted on January 29, 2019 by,

 DARTON ENVIRONMENTAL, INC.

 /s/ Dan Ashwell (with permission)
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 JIAN BIN ZHENG, ADAM ZHENG, GREEN OIL RECYCLE, INC.
 AND TG RECYCLE OIL, LLC

 /s/ Bevin Alexander (with permission)
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 FJUVO COLLECTIONS, LLC, AND TG RECYCLE OIL, LLC, AND GUO DENG CHEN,
 AKA ANDY CHEN

 /s/ Joshua A. Mullen
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                               CERTIFICATE OF SERVICE

 I hereby certify that the foregoing Stipulation of Dismissal With Prejudice was served on all
 counsel of record by means of the Court’s ECF electronic document filing system, this 29th day
 of January, 2019.


                                                          /s/ Joshua A. Mullen
                                                          Joshua A. Mullen




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